     1                      UNITED STATES DISTRICT COURT

     2                      EASTERN DISTRICT OF TENNESSEE

     3                               AT GREENEVILLE

     4


     5       UNITED STATES OF AMERICA,

     6


     7                  PLAINTIFF,

     8


     9       VS                                NO:    2:11-CR-81

    10


    11       WILLIAM H. MCMAHAN, JR

    12       ET AL,

    13


    14                  DEFENDANTS.

    15


    16


    17                    INITIAL APPEARANCE & ARRAIGNMENT

    18                 HONORABLE DENNIS H. INMAN, PRESIDING

    19                     AS HEARD ON SEPTEMBER 16, 2011

    20


    21


    22


    23


    24


    25




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                                                                           2

     1
             APPEARANCES:
     2
             THE GOVERNMENT:             CARYN L. HEBETS, ESQ.
     3


     4
             FOR DEFENDANTS:
     5
             BUFORD W. ROGERS:           TIM S. MOORE, ESQ.
     6
             LEE R. SHARP:               ANDREA MOHR, ESQ.
     7
             RICHARD H. BLACK:           KARMEN .L WATERS, ESQ.
     8
             JOYCE A. ROBERTS:           JEFFERSON B. FAIRCHILD, ESQ.
     9
             VICTOR L. LOVEDAY, SR.:     JOSEPH W. RASNIC, ESQ.
    10
             DANNY L. RICHARDSON:        SANDRA B. JELOVSEK, ESQ.
    11
             ROBBIE L. LANGFORD:         J. MATTHEW BOLTON, ESQ.
    12
             CHARLES T. PARKER:          ROBERT B. DICKERT, ESQ.
    13
             JAYSON D. COX:              GUY W. BLACKWELL, ESQ.
    14
             VICTOR L. LOVEDAY, JR.:     JERRY L. FABUS, ESQ.
    15
             GARY L. BRIDGES:            CASEY A. SEARS, ESQ.
    16
             TERRY W. MILLER:            CHARLES R. MARTIN, ESQ.
    17
             MELONIE A. MONTANARO:       DONALD E. SPURRELL, ESQ.
    18
             BRANDON L. MILLER:          MARK S. HANOR, ESQ.
    19
             RODNEY E. TULLOCK:          ERIC REACH, ESQ.
    20


    21


    22


    23


    24


    25




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     1
                        This cause came on to be heard on this the
     2
             16th of September, 2011 in the United States District
     3
             Court, Eastern District of Tennessee at Greeneville,
     4
             before the Honorable Dennis H. Inman.        Present and
     5
             representing The Government was Ms. Caryn L. Hebets.
     6
             Counsel for Defendants are present via conference call
     7
             and in Courtroom.    Recording not taken by Barringer
     8
             Court Reporting.
     9


    10
                        The following matters were presented,
    11
             to-wit:
    12


    13
                        CLERK:   ...Victor L. Loveday, Sr., Danny L.
    14
             Richardson, Robbie L. Langford, Charles T. Parker,
    15
             Jayson D. Cox, Victor L. Loveday, Jr., Gary L. Bridges,
    16
             Terry W. Miller, Melonie A. Montanaro, Brandon L.
    17
             Miller, Rodney E. Tullock.
    18
                        THE COURT:    I'm going to try whatever they
    19
             said on that.    Let's just go for it.
    20
                        CLERK:   Attorneys on the phone, I'm going to
    21
             try something.    If you get cut off, please call back.
    22
             Is everyone still there?
    23
                        THE COURT:    Swear all the Defendants.
    24


    25
             (DEFENDANTS WERE SWORN)


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     1
                          THE COURT:    When I call your name, please
     2
             raise your hand so I know where you are, please?
     3
             Buford Rodgers?    Mr. Rogers, how old are you?
     4
                          MR. ROGERS:    (Inaudible).
     5
                          THE COURT:    How much education do you have?
     6
                          MR. ROGERS:    (Inaudible).
     7
                          THE COURT:    Any psychological or mental
     8
             problems that could possibly interfere with your
     9
             ability to understand me this morning?
    10
                          MR. ROGERS:    No.
    11
                          THE COURT:    Alright.   Thank you.   Lee Sharp?
    12
             Mr. Sharp, how old are you, please?
    13
                          MR. SHARP:    Fifty six.
    14
                          THE COURT:    Education?
    15
                          MR. SHARP:    Eighth grade, grammar school.
    16
                          THE COURT:    Okay.   Can you read and write?
    17
                          MR. SHARP:    I can write (inaudible), I can
    18
             read some things.
    19
                          THE COURT:    Read some things?
    20
                          MR. SHARP:    Yes.
    21
                          THE COURT:    Got any psychological or mental
    22
             problems?
    23
                          MR. SHARP:    High blood pressure.
    24
                          THE COURT:    Just high blood pressure, okay.
    25
             As far as your reading and writing is concerned, as


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     1
             long, as far as having a conversation with me like you
     2
             and I are having right now, got any problems
     3
             understanding me?
     4
                        MR. SHARP:    No, I wouldn't think so.
     5
                        THE COURT:    Okay.   Thank you.    Richard Black?
     6
             How old are you?
     7
                        MR. BLACK:    Forty five.
     8
                        THE COURT:    Education?
     9
                        MR. BLACK:    Tenth grade.
    10
                        THE COURT:    Any psychological, mental or
    11
             emotional problems?
    12
                        MR. BLACK:    Yes.
    13
                        THE COURT:    What?
    14
                        MR. BLACK:    PTSD.
    15
                        THE COURT:    Okay.   Do you take medication for
    16
             it?
    17
                        MR. BLACK:    Yes.
    18
                        THE COURT:    What?
    19
                        MR. BLACK:    (Inaudible).
    20
                        THE COURT:    How much?
    21
                        MR. BLACK:    Prozac.
    22
                        THE COURT:    Prozac?   Anything about your
    23
             condition or the medication that you take for it that
    24
             could possibly interfere with your ability to
    25
             understand me this morning?      He says no.    Okay.   Ms.


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                                                                            6

     1
             Joyce Roberts?    How old are you?
     2
                         MS. ROBERTS:   (Inaudible).
     3
                         THE COURT:   How much education?
     4
                         MS. ROBERTS:   I went to high school.
     5
                         THE COURT:   Any psychological, mental or
     6
             emotional problems?
     7
                         MS. ROBERTS:   No.
     8
                         THE COURT:   Any reason that you could think
     9
             of that you would not be able to understand me this
    10
             morning?   Alright.    Victor Loveday, Sr.?     Mr. Loveday,
    11
             how old are you, please?
    12
                         MR. LOVEDAY, SR.:    Fifty seven.
    13
                         THE COURT:   Education?
    14
                         MR. LOVEDAY, SR.:    Sixteen.
    15
                         THE COURT:   You graduated from college?
    16
                         MR. LOVEDAY, SR.:    Senior year.
    17
                         THE COURT:   Alright.    Any psychological,
    18
             mental or emotional problems?
    19
                         MR. LOVEDAY, SR.:    No.
    20
                         THE COURT:   You believe you'll be able to
    21
             understand me this morning?
    22
                         MR. LOVEDAY, SR.:    Yes.
    23
                         THE COURT:   Alright.    Mr. Danny Richardson?
    24
             How old are you, please?
    25
                         MR. RICHARDSON:    Twenty eight.


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     1
                        THE COURT:    Education?
     2
                        MR. RICHARDSON:     (Inaudible) high school.
     3
                        THE COURT:    Any psychological, mental or
     4
             emotional problems?
     5
                        MR. RICHARDSON:     No.
     6
                        THE COURT:    Will you be able to understand me
     7
             this morning?
     8
                        MR. RICHARDSON:     Yes, Sir.
     9
                        THE COURT:    Alright.    Mr. Robbie Langford?
    10
                        MR. LANGFORD:    Yes, Sir.
    11
                        THE COURT:    How old are you?
    12
                        MR. LANGFORD:    Thirty.
    13
                        THE COURT:    Education?
    14
                        MR. LANGFORD:    Twelve.
    15
                        THE COURT:    Any psychological, mental or
    16
             emotional problems of any kind?
    17
                        MR. LANGFORD:    No, Sir.
    18
                        THE COURT:    Alright.    Mr. Charles Parker?
    19
             How old are you?
    20
                        MR. PARKER:    Thirty five.
    21
                        THE COURT:    Education?
    22
                        MR. PARKER:    Eleven.
    23
                        THE COURT:    Any psychological, mental or
    24
             emotion problems in your history?
    25
                        MR. PARKER:    No, Sir.


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     1
                         THE COURT:    Will you be able to understand me
     2
             this morning alright?
     3
                         MR. PARKER:    Yes, Sir.
     4
                         THE COURT:    Alright.   Jayson Cox?    How old
     5
             are you?
     6
                         MR. COX:   Thirty five.
     7
                         THE COURT:    How much education do you have?
     8
                         MR. COX:   High school diploma.
     9
                         THE COURT:    Okay.   Any psychological, mental
    10
             or emotional problems?
    11
                         MR. COX:   No, Sir.
    12
                         THE COURT:    Think you'll be able to
    13
             understand me this morning?
    14
                         MR. COX:   Yes, Sir.
    15
                         THE COURT:    Mr. Loveday, Jr.?     How old are
    16
             you?
    17
                         MR. LOVEDAY, JR.:     Thirty one.
    18
                         THE COURT:    How much education do you have?
    19
                         MR. LOVEDAY, JR.:     GED.
    20
                         THE COURT:    Alright.   Any psychological,
    21
             mental or emotional problems?
    22
                         MR. LOVEDAY, JR.:     No, Sir.
    23
                         THE COURT:    Alright.   Mr. Gary Bridges?    How
    24
             old are you?
    25
                         MR. BRIDGES:    Fifty one.


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     1
                        THE COURT:    How much education?
     2
                        MR. BRIDGES:    Seventh grade.
     3
                        THE COURT:    Okay.    Can you read and write
     4
             okay?
     5
                        MR. BRIDGES:    Fair.
     6
                        THE COURT:    Fair?    Got any psychological,
     7
             mental problems?
     8
                        MR. BRIDGES:    No.
     9
                        THE COURT:    Alright.    As far as having a
    10
             conversation, listening to people explain things like
    11
             I'm hopefully going to explain to all of you here in a
    12
             few minutes what you're charged with and what the
    13
             punishment could be and rights you have, you think
    14
             you'll be able to understand all that?
    15
                        MR. BRIDGES:    Yes.
    16
                        THE COURT:    Understand all that alright?
    17
                        MR. BRIDGES:    Yes.
    18
                        THE COURT:    Alright.    Mr. Terry Miller?    How
    19
             old are you?
    20
                        MR. T. MILLER:     Fifty seven.
    21
                        THE COURT:    How much education?
    22
                        MR. T. MILLER:     Twelve.
    23
                        THE COURT:    Any psychological, mental or
    24
             emotional problems?
    25
                        MR. T. MILLER:     No.


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      1
                         THE COURT:   Will you be able to understand me
      2
             this morning?
      3
                         MR. T. MILLER:    Yes.
      4
                         THE COURT:   Alright.    Ms. Melonie Montanaro?
      5
                         MS. MONTANARO:    Yes, Sir.
      6
                         THE COURT:   How old are you?
      7
                         MS. MONTANARO:    Twenty five.
      8
                         THE COURT:   How much education?
      9
                         MS. MONTANARO:    Graduated high school.
     10
                         THE COURT:   Psychological, mental or
     11
             emotional problems?
     12
                         MS. MONTANARO:    No, Sir.
     13
                         THE COURT:   Will you be able to understand me
     14
             this morning?
     15
                         MS. MONTANARO:    Yes, Sir.
     16
                         THE COURT:   Mr. Brandon Miller?
     17
                         MR. B. MILLER:    Yes, Sir.
     18
                         THE COURT:   How old are you?
     19
                         MR. B. MILLER:    Twenty five.
     20
                         THE COURT:   How much education do you have?
     21
                         MR. B. MILLER:    Graduated high school.
     22
                         THE COURT:   Any psychological, mental or
     23
             emotional problems?
     24
                         MR. B. MILLER:    No.
     25
                         THE COURT:   Will you be able to understand me


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      1
             this morning?
      2
                         MR. B. MILLER:    Yes, Sir.
      3
                         THE COURT:   Mr. Tullock?
      4
                         MR. TULLOCK:    Yes, Sir.
      5
                         THE COURT:   How old are you?
      6
                         MR. TULLOCK:    Forty five.
      7
                         THE COURT:   How much education?
      8
                         MR. TULLOCK:    Ninth.
      9
                         THE COURT:   Any psychological, mental or
     10
             emotional problems?
     11
                         MR. TULLOCK:    No.
     12
                         THE COURT:   Where did you grow up?
     13
                         MR. TULLOCK:    Right here in Greene County.
     14
                         THE COURT:   Greene County?     Alright.   All of
     15
             you have been indicted by a Federal Grand Jury and
     16
             charged with certain Federal crimes.        Right now in a
     17
             minute I am going to go over what you are charged with
     18
             and tell you what the punishment could be if you were
     19
             convicted on any of these charges.        I want each of you
     20
             to remember that you do have a Constitutional Right to
     21
             remain silent.     The Government must prove that you are
     22
             guilty and in fact prove that you are guilty beyond a
     23
             reasonable doubt.     You do not have to prove that you
     24
             are innocent which means that you can rely upon your
     25
             right to remain silent and The Government has got to


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      1
             prove you are guilty with what proof it can muster and
      2
             put together without you having to help The Government.
      3
             Of course, you also need to recall that if you give up
      4
             that Constitutional Right to remain silent and if you
      5
             talk about the charges, either intentionally or because
      6
             you blurt something out unthinkingly, it is perfectly
      7
             permissible for The Government to use what you say
      8
             against you as part of it's proof as it tries to prove
      9
             that you are guilty.     My best suggestion to you is that
     10
             before you talk about the charges you always talk to
     11
             your lawyer beforehand and get his or her advice.          So
     12
             with that said, here we go.      Several of these counts
     13
             charge the people named in those counts with a
     14
             conspiracy.    A conspiracy is a plan or an agreement
     15
             between two or more people to commit a crime.         It is a
     16
             plan to commit a crime.      This is what the first count
     17
             charges.    This count says that between January of '03
     18
             up through September the 13th, 2011 the following
     19
             people conspired among themselves to distribute and to
     20
             possess with the intent to distribute 1,000 kilograms
     21
             or more of marijuana.      Those people are Mr. William
     22
             McMahan, Buford Rogers, Lee Sharp, Rodney Settles,
     23
             Audrey Jinks, Richard Black, Joyce Roberts, Victor
     24
             Loveday, Danny Richardson, Robbie Langford, Charles
     25
             Parker, Dallas Parsley, Billy Gibson, Jayson Cox and


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      1
             Victor Loveday, Jr.       The punishment if you are
      2
             convicted is a minimum and mandatory ten years in the
      3
             penitentiary, up to and possibility of the rest of your
      4
             life, a $10,000,000.00 fine and five years on
      5
             supervised release.       Count two as far as the people
      6
             here are concerned charges Mr. Sharp, what's the status
      7
             of the remaining Defendants?
      8
                          MS. HEBETS:    Your Honor, there are several
      9
             Defendants who have not yet been arrested.
     10
                          THE COURT:    And aren't in custody some place?
     11
                          MS. HEBETS:    There is one who is not arrested
     12
             and not in custody some place.
     13
                          THE COURT:    Alright.   Mr. Bridges, Mr. Sharp,
     14
             I think that's all, conspired between January 1st, 2004
     15
             and September the 13th, 2011 to distribute and to
     16
             possess with the intent to distribute five kilograms or
     17
             more of cocaine.     The punishment for that is minimum
     18
             mandatory ten years in the penitentiary up to a
     19
             possibility of life, a $10,000,000.00 fine and five
     20
             years on supervised release.       Count three applies to
     21
             Mr. Tullock, Mr. Miller, Ms. Montanaro, Mr. Terry
     22
             Miller as far as the people here are concerned.          This
     23
             count charges the people I just named with conspiring
     24
             to distribute and possess with the intent to distribute
     25
             oxycodone.    Punishment upon conviction of count three


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      1
             is up to 20 years and $1,000,000.00 fine and three
      2
             years on supervised release.       Count four applies to Mr.
      3
             Sharp, Mr. Bridges and Mr. Parker.        Once again it is a
      4
             conspiracy count, this count charges that between
      5
             January '09 and September the 13th of '11 the people I
      6
             just named conspired among themselves to conduct,
      7
             attempt to conduct financial transactions affecting
      8
             interstate commerce.     Those transactions involved the
      9
             proceeds of unlawful activity, mainly the conspiracies
     10
             to distribute 1,000 kilos of marijuana and five kilos
     11
             or more of cocaine and that those transactions were
     12
             conducted knowing that the property involved in those
     13
             transactions represented the proceeds of the unlawful
     14
             activity.    That is a long way of saying that you are
     15
             charged with conspiring to launder money.         Punishment
     16
             upon conviction of that count is up to a maximum of 20
     17
             years in prison, a half million dollar fine or twice
     18
             the amount of the money involved in the transactions,
     19
             whichever is greater and three years on supervised
     20
             release.    Count four applies to Mr. Loveday, Jr.        Mr.
     21
             Loveday, this count says that on May the 4th, 2009 that
     22
             you distributed some amount of marijuana.         Punishment
     23
             for that is up to five years and a quarter million
     24
             dollar fine and two years on supervised release.          Count
     25
             six, Mr. Loveday, Jr. says that you did the same thing


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      1
             but on another date, May the 6th, 2009.        Punishment is
      2
             the same.    Count seven, Mr. Loveday, Jr. says that you
      3
             did the same thing two days later on May the 8th of
      4
             '09, punishment is the same.       Count eight applies to
      5
             Mr. Loveday, Sr.     This count alleges that on July the
      6
             24th, Mr. Loveday, Sr. distributed some amount of
      7
             marijuana.    Punishment is up to five years and a
      8
             quarter million dollar fine and two years on supervised
      9
             release.    Count nine, Mr. Loveday, Sr., says that you
     10
             did the same thing on August the 5th of '09, punishment
     11
             is the same.    Ten does not apply to anyone here, count
     12
             11, no.    Count 12, Mr. Langford, applies to you, it
     13
             says that on October the 15th of '09 that you
     14
             distributed some amount of marijuana.        The punishment
     15
             is up to five years, quarter million dollar fine, two
     16
             years on supervised release.       Count 14 applies to
     17
             Richard Black.     Mr. Black, this count says that on
     18
             November 4th of '09 that you possessed marijuana with
     19
             the ultimate intent to distribute that marijuana.          The
     20
             punishment is up a maximum of five years, quarter
     21
             million dollar fine and two years on supervised
     22
             release.    Count 15 applies to Danny Richardson.        This
     23
             count says that on November the 4th of '09 that Mr.
     24
             Richardson possessed some amount of marijuana with the
     25
             intent to distribute it.      The punishment again is up to


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      1
             five years, quarter million dollar fine and two years
      2
             on supervised release.      Count 16 applies to Robbie
      3
             Langford.    It alleges that on December the 30th of '09
      4
             that Mr. Langford distributed some amount of marijuana.
      5
             The punishment is up to five years, quarter million
      6
             dollar fine and two years supervised release.         Count 17
      7
             applies to Jayson Cox.      This count alleges that on
      8
             January that 31st of 2010 that Mr. Cox distributed some
      9
             amount of marijuana, punishment is up to five years and
     10
             a quarter million dollar fine and two years on
     11
             supervised release.     Count 18 applies to Mr. Charles
     12
             Parker which alleges that on March the 15th, 2010, Mr.
     13
             Parker distributed some amount of marijuana, punishment
     14
             is up to five years and quarter million in fines and
     15
             two years on supervised release.       Nineteen applies to
     16
             Mr. Richard Black.     It alleges that Mr. Black
     17
             distributed, excuse me, possessed some amount of
     18
             marijuana with the intent to distribute it on March the
     19
             15th, 2010.    Punishment is up to five, quarter million
     20
             in fines, two years on supervised release.         Count 20
     21
             applies to Mr. Richardson, it says that on March 15th,
     22
             Mr. Richardson possessed some amount of marijuana with
     23
             the intent to distribute it on March the 15th, 2010.
     24
             Count 21 applies to Mr. Tullock.       This count says that
     25
             on April 21, 2010 that Mr. Tullock possessed some


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      1
             amount of oxycodone with the intent to distribute it,
      2
             punishment upon conviction, Mr. Tullock, is up to a
      3
             maximum of 20 years and $1,000,000.00 fine and three
      4
             years on supervised release.       Mr. Sharp, count 22
      5
             applies to you.     It says that on April the 26th, 2010
      6
             that you distributed 500 or more grams of cocaine.
      7
                         MS. HEBETS:    Your Honor, count 22 also
      8
             applies to Mr. Bridges.
      9
                         THE COURT:    Thank you, and Mr. Bridges, so
     10
             Mr. Sharp and Bridges, 500 grams or more of cocaine, if
     11
             you are convicted, Mr. Sharp and Mr. Bridges, the
     12
             punishment is a minimum and mandatory of five years up
     13
             to a possible maximum of 40 years, a $5,000,000.00 fine
     14
             and three years on supervised release.        Mr. Rogers,
     15
             count 24 applies to you.      It says that on November the
     16
             30th, 2010 that you distributed some amount of
     17
             marijuana, punishment is up to five years, quarter
     18
             million dollar fine and two years on supervised
     19
             release.    Mr. Rogers, count 25 applies to you and
     20
             charges you with the same thing except it said you
     21
             distributed, it does not excuse me.        It says that on
     22
             May the 1st, 2010 that you possessed with the intent to
     23
             distribute 100 kilograms or more of marijuana.
     24
             (Inaudible) punishment on that.
     25
                         MS. HEBETS:    Your Honor, it's a minimum of


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      1
             five years, up to 40, $5,000,000.00 fine and supervised
      2
             release for at least four years.
      3
                         THE COURT:    Cheat sheet is wrong there.
      4
             Okay.   Mr. Rogers, May 1st, 2010 so says count 25, you
      5
             possessed 100 kilos or more of marijuana with the
      6
             intent to distribute it.      If you are convicted the
      7
             punishment is a minimum mandatory five years up to a
      8
             possible maximum of 40, $5,000,000.00 in fines and four
      9
             years on supervised release.       Mr. Miller, Brandon
     10
             Miller, count 43 applies to you, it says that on
     11
             November the 12th of 2010 that you possessed some
     12
             oxycodone with the intent to distribute it.         Punishment
     13
             for that is up to a maximum of 20 years, a
     14
             $1,000,000.00 fine and three years on supervised
     15
             release.    Is that it?
     16
                         MR. HEBETS:    Yes, Your Honor.
     17
                         THE COURT:    Now then, Defendants, anyone got
     18
             any question about what any one of you is charged with
     19
             and what the punishment could be if convicted?         You and
     20
             your attorneys can go over this in more detail at your
     21
             leisure, of course, but I will be happy to answer any
     22
             questions any of you have now if in fact you have any.
     23
             Alright.    Let's talk about lawyers.      Mr. Rogers, do you
     24
             want a lawyer?
     25
                         MR. ROGERS:    Yes.


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      1
                         THE COURT:    Can you afford one yourself?
      2
                         MR. ROGERS:    Not at the present time,
      3
             possibly I could later.
      4
                         THE COURT:    Well, what's different about
      5
             later from now?
      6
                         MR. ROGERS:    My wife could borrow money for
      7
             me to get a lawyer.
      8
                         THE COURT:    Okay.   Well, Mr. Rogers, let me
      9
             make a suggestion to you?      You need a lawyer now and
     10
             whether or not your wife can borrow the money necessary
     11
             for you to hire a lawyer is, who knows.        It's my
     12
             suggestion to you that you allow me to appoint a lawyer
     13
             for you now and if later your wife is able to hire a
     14
             lawyer that lawyer can take the place of the lawyer I
     15
             appoint, does that suit you?
     16
                         MR. ROGERS:    Yes, Sir.
     17
                         THE COURT:    Mr. Rogers, is this financial
     18
             Affidavit you filled out a while ago correct?
     19
                         MR. ROGERS:    Close.
     20
                         THE COURT:    Well, like the old joke says,
     21
             that only applies in hand grenades.        What, what's not
     22
             accurate about it?
     23
                         MR. ROGERS:    (Inaudible).
     24
                         THE COURT:    Okay.   Other than that variance
     25
             it's accurate?


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      1
                         MR. ROGERS:    (Inaudible).
      2
                         THE COURT:    Alright.    Mr. Rogers, I'm
      3
             appointing the Federal Defender to represent you,
      4
             that's Mr. Tim Moore who is one of the Federal
      5
             Defenders here in Greeneville.        Mr. Sharp, I'm advised
      6
             that you've hired a lawyer?
      7
                         MR. SHARP:    (Inaudible).
      8
                         MS. MOHR:    (Inaudible), my name is Andrea
      9
             Mohr an associate of his office.
     10
                         THE COURT:    Mr. Greg Isaacs should be...?
     11
                         MS. MOHR:    He actually had a conflict with a
     12
             case that was...
     13
                         THE COURT:    That's not a problem, but he
     14
             should be entered as Attorney on record?
     15
                         MS. MOHR:    Yes.
     16
                         THE COURT:    That will be fine, thank you.
     17
                         MS. MOHR:    Thank you.
     18
                         THE COURT:    Mr. Black, do you want a lawyer?
     19
                         MR. BLACK:    Yes, Sir.
     20
                         THE COURT:    Can you afford one?     Is this
     21
             financial Affidavit you filled out correct?
     22
                         MR. BLACK:    Yes.
     23
                         THE COURT:    Okay.   All of these lawyers that
     24
             I will be appointing, and I'm talking to all Defendants
     25
             now, are members of the Criminal Justice Act CJA Panel


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      1
             of this Court.     Meaning that they have been approved by
      2
             the Judges of this Court to represent Defendants
      3
             charged in Federal Court with Federal crimes.         Ms.
      4
             Karmen Waters is one of those lawyers.        Is Karmen here
      5
             or is she on the phone?
      6
                          MS. WATERS:    Yes, I'm here.    I can hear you,
      7
             Your Honor.
      8
                          THE COURT:    You're virtually here?
      9
                          MS. WATERS:    I'm virtually there.
     10
                          THE COURT:    Okay.    Mr. Black, Ms. Karmen
     11
             Waters is your attorney.      She's on the telephone
     12
             listening.    Ms. Roberts, do you want a lawyer?
     13
                          MS. ROBERTS:    Yes.
     14
                          THE COURT:    Can you afford one?
     15
                          MS. ROBERTS:    No.
     16
                          THE COURT:    Do you want me to appoint one for
     17
             you?   Is your financial Affidavit correct?
     18
                          MS. ROBERTS:    Yes, Sir.
     19
                          THE COURT:    You married?
     20
                          MS. ROBERTS:    No, Sir.
     21
                          THE COURT:    Single?    This house in Newport,
     22
             are you the sole owner of it?
     23
                          MS. ROBERTS:    Yes.
     24
                          THE COURT:    And it has, the outstanding
     25
             mortgage against it is $26,000.00?


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      1
                         MS. ROBERTS:    Yes.
      2
                         THE COURT:   Okay.     Alright.   Ms. Roberts,
      3
             here is, you're one of those folks that I have to deal
      4
             with every once in a while that present a problem.
      5
             You've got assets with which to pay a lawyer.         You've
      6
             got close to $50,000.00 in equity in that house in
      7
             Newport, trouble is it's not liquid, you can't get at
      8
             it.   It's tied up in the house and you have no cash
      9
             assets.   So what I propose doing, Ms. Roberts, I will
     10
             appoint a CJA Panel lawyer for you but I also will
     11
             impose a lien on your property there in Newport that
     12
             will be used, liquidated if necessary, to defray wholly
     13
             or in part the cost of your CJA lawyer.        You've got too
     14
             much property, Ms. Roberts, for the tax payers to pay
     15
             for the cost of your Defense.       Do you understand what
     16
             I'm going to do?
     17
                         MS. ROBERTS:    Yes.
     18
                         THE COURT:   You're attorney is Mr. Jefferson
     19
             Fairchild, his office is in Rogersville.        Mr.
     20
             Fairchild, are you on the phone with us?
     21
                         MR. FAIRCHILD:    Yes, Your Honor.
     22
                         THE COURT:   Alright.     Mr. Loveday, do you
     23
             want a lawyer?
     24
                         MR. LOVEDAY, SR.:      Yes.
     25
                         THE COURT:   Can you afford one?


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      1
                         MR. LOVEDAY, SR.:    No.
      2
                         THE COURT:   Is your financial Affidavit
      3
             correct?
      4
                         MR. LOVEDAY, SR.:    Yes.
      5
                         THE COURT:   Well, deja vu all over again.
      6
             You own property over there in Cocke County with your
      7
             sister?
      8
                         MR. LOVEDAY, SR.:    Blount County.
      9
                         THE COURT:     Blount County?    How many acres?
     10
                         MR. LOVEDAY, SR.:    (Inaudible).
     11
                         THE COURT:   It has a house on it?
     12
                         MR. LOVEDAY, SR.:    Yes.
     13
                         THE COURT:   You figure it's worth $75,000.00?
     14
                         MR. LOVEDAY, SR.:    (Inaudible).
     15
                         THE COURT:   You and your sister inherit it?
     16
                         MR. LOVEDAY, SR.:    Yes.
     17
                         THE COURT:   No mortgage on it?
     18
                         MR. LOVEDAY, SR.:    No, Sir.
     19
                         THE COURT:   Okay.   Mr. Loveday, I propose
     20
             doing the same thing with respect to your interest in
     21
             that property that I talked to Ms. Roberts about.          I'll
     22
             appoint a lawyer for you but I'm also going to impress
     23
             a lien on your interest on that property over there to
     24
             at least defray the cost of your Court appointed
     25
             counsel.


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      1
                         MR. LOVEDAY, SR.:     (Inaudible) property bond.
      2
                         THE COURT:    Property bond?
      3
                         MR. LOVEDAY, SR.:     Yes.
      4
                         THE COURT:    You talking about a bail bond?
      5
                         MR. LOVEDAY, SR.:     Yes.
      6
                         THE COURT:    State Court?
      7
                         MR. LOVEDAY, SR.:     Yes.
      8
                         THE COURT:    Well...
      9
                         MR. LOVEDAY, SR.:     (Inaudible).
     10
                         THE COURT:    Mr. Rasnic?
     11
                         MR. RASNIC:    Yes, Sir.
     12
                         THE COURT:    You there?
     13
                         MR. RASNIC:    I'm here, Your Honor.
     14
                         THE COURT:    Okay.   I'm going, you're
     15
             appointed to represent Mr. Loveday, Sr.           You heard what
     16
             I said about impressing a lien on the property,
     17
             correct?
     18
                         MR. RASNIC:    Yes, Sir.     I did.
     19
                         THE COURT:    Mr. Richardson?
     20
                         MR. RICHARDSON:    Yes, Sir.
     21
                         THE COURT:    Do you want a lawyer?
     22
                         MR. RICHARDSON:    Yes, Sir.
     23
                         THE COURT:    Can you afford one?       I this
     24
             financial Affidavit correct?        Ms. Jelovsek, are you on
     25
             the phone with us?


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                                                                             25

      1
                         MS. JELOVSEK:    Yes, Sir.    I am.
      2
                         THE COURT:   Alright.    Ms. Jelovsek, you're
      3
             appointed to represent Mr. Richardson.        Let's see,
      4
             let's back up here just a moment for the sake of the
      5
             lawyers.    Marshals, where is Mr. Rogers going to be
      6
             housed?    The lawyers are going to want to know.        What
      7
             about Mr. Sharp?
      8
                         MARSHAL:   Greene County, Your Honor.
      9
                         THE COURT:   Are all of them Greene County?
     10
                         MARSHAL:   No, Sir.    The ones in the solid
     11
             blue or the stripes are Greene County.        Everybody else
     12
             is Washington County.
     13
                         THE COURT:   Okay.    Let's say it out loud
     14
             because we got people that can't see including me.
     15
             Richard Black?
     16
                         MARSHAL:   Washington.
     17
                         THE COURT:   Washington.     Joyce Roberts?
     18
                         MARSHAL:   Greene.
     19
                         THE COURT:   Greene County.     Victor Loveday,
     20
             Sr.?
     21
                         MARSHAL:   Washington.
     22
                         THE COURT:   And Mr. Danny Richardson?
     23
                         MARSHAL:   Greene.
     24
                         THE COURT:   Greene County.     Okay.   Thank you.
     25
             That brings us to Mr. Robbie Langford, Mr. Langford, do


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      1
             you want a lawyer?     Can you afford one?
      2
                         MR. LANGFORD:    (Inaudible).
      3
                         THE COURT:    Well, you're perfectly entitled
      4
             to do that but like I told Mr. Rogers at the outset,
      5
             could I respectfully suggest to you that you allow me
      6
             to appoint a lawyer for you now.       If you hire one later
      7
             then...
      8
                         MR. LANGFORD:    Yes, Sir.
      9
                         THE COURT:    Okay.    Is your financial
     10
             Affidavit correct?
     11
                         MR. LANGFORD:    Yes, Sir.
     12
                         THE COURT:    Where is Mr. Langford housed?
     13
                         MARSHAL:   Greene County.
     14
                         THE COURT:    Greene County, thank you.      Oh,
     15
             and I appointed Mr. Bolton to represent you, Mr.
     16
             Langford, I'm sorry.      Mr. Bolton, are you on the phone?
     17
                         MR. BOLTON:    I am.
     18
                         THE COURT:    Okay.    Did you hear that about
     19
             him being housed in Greene County?
     20
                         MR. BOLTON:    Yes, Sir.    I do.
     21
                         THE COURT:    Mr. Parker, do you want a lawyer?
     22
                         MR. PARKER:    Yes, Sir.
     23
                         THE COURT:    Can you afford one?     Alright.     Is
     24
             your financial Affidavit correct?        I'm appointing Mr.
     25
             Robert Dickert to represent you.       And where is Mr.


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      1
             Parker residing?
      2
                          MARSHAL:   Greene County.
      3
                          THE COURT:   Greene County.      Mr. Dickert, are
      4
             you with us?
      5
                          MR. DICKERT:   Yes, Sir.
      6
                          THE COURT:   Oh, he's present.     Where are you?
      7
                          MR. DICKERT:   Right here.
      8
                          THE COURT:   Okay.    Got you.   Alright.   Mr.
      9
             Cox, do you want a lawyer?
     10
                          MR. COX:   Yes, Sir.
     11
                          THE COURT:   Can you afford one?
     12
                          MR. COX:   No, Sir.
     13
                          THE COURT:   Is your financial Affidavit
     14
             correct?
     15
                          MR. COX:   Yes, Sir.
     16
                          THE COURT:   Okay.    I'm appointing Mr. Guy
     17
             Blackwell and I think he is on the telephone, are you
     18
             not, Mr. Blackwell?
     19
                          MR. BLACKWELL:   I am, Your Honor, good
     20
             morning.
     21
                          THE COURT:   Good morning.    And where is Mr.
     22
             Cox housed?
     23
                          MARSHAL:   Washington.
     24
                          THE COURT:   Washington, your lucky day Guy
     25
             Blackwell.


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      1
                         MR. BLACKWELL:    Yes, Sir.
      2
                         THE COURT:   Mr. Victor Loveday, Jr., do you
      3
             want a lawyer?
      4
                         MR. LOVEDAY, JR.: Yes, Sir.
      5
                         THE COURT:   Where are you?      I've lost you
      6
             again, there you are.      Can you afford one yourself?
      7
                         MR. LOVEDAY, JR.:     No, Sir.
      8
                         THE COURT:   Is your financial Affidavit
      9
             correct?
     10
                         MR. LOVEDAY, JR.:     Yes, Sir.
     11
                         THE COURT:   Mr. Loveday, I'm appointing Mr.
     12
             Jerry Fabus to represent you.       Is Jerry on the phone?
     13
             No, he's here.     There he is.    Dave (inaudible), are you
     14
             on the phone?    That answers that question, okay.         Okay.
     15
             Mr. Bridges, do you want a lawyer?
     16
                         MR. BRIDGES:    Yes, Sir.
     17
                         THE COURT:   Can you afford one yourself?
     18
                         MR. BRIDGES:    No, Sir.
     19
                         THE COURT:   Is your Affidavit correct?
     20
                         MR. BRIDGES:    Yes, Sir.
     21
                         THE COURT:   Mr. Sears, I think you're in the
     22
             Courtroom, aren't you?      There he is.     That's your
     23
             lawyer, Mr. Casey Sears.      And where is Mr. Bridges
     24
             housed?
     25
                         MARSHAL:   Washington.


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      1
                         THE COURT:    Terry Miller, do you want a
      2
             lawyer?
      3
                         MR. T. MILLER:    Yes, Sir.
      4
                         THE COURT:    Can you afford one?
      5
                         MR. T. MILLER:    No.
      6
                         THE COURT:    Do you want me to appoint a
      7
             lawyer for you?      Is your Affidavit correct?
      8
                         MR. T. MILLER:    yes.
      9
                         THE COURT:    Charles Martin is on the
     10
             telephone, I believe, is that right?
     11
                         MR. MARTIN:    That is correct, Your Honor.
     12
                         THE COURT:    Okay.   Mr. Charles Martin is your
     13
             attorney Mr. Miller.      Where is Mr. Miller?
     14
                         MARSHAL:    Washington.
     15
                         THE COURT:    Washington County, thank you.
     16
                         MR. MARTIN:    Thank you, Your Honor.
     17
                         THE COURT:    Ms. Montanaro?
     18
                         MS. MONTANARO:    Yes, Sir.
     19
                         THE COURT:    Do you want a lawyer?
     20
                         MS. MONTANARO:    Yes, Sir.
     21
                         THE COURT:    Can you afford one?
     22
                         MS. MONTANARO:    No, Sir.
     23
                         THE COURT:    I've got a sticky note that says,
     24
             "Retained," where did that come from?
     25
                         CLERK:    (Inaudible).


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      1
                          MS. HEBETS:    Your Honor, I had a call from
      2
             Dillard (phonetically), and Tom Dillard's law office in
      3
             Knoxville asking for information about Ms. Montanaro
      4
             and indicating that he was going to represent her.
      5
             But...
      6
                          THE COURT:    Do you know anything about Mr.
      7
             Ton Dillard?
      8
                          MR. MONTANARO:    Yes, my mother called him but
      9
             I didn't know if she got ahold of him so that's why I
     10
             didn't...
     11
                          THE COURT:    Officer Dedrick says no, the
     12
             eternal pessimist.
     13
                          OFFICER DEDRICK:    I'm sorry, I talked to the
     14
             mother and she has not retained Mr. Dillard.         She was
     15
             checking prices with other attorneys to see about the
     16
             cost.    And I suggested that she allow a Court appointed
     17
             attorney, Ms. Montanaro does not have (inaudible)...
     18
                          THE COURT:    Thank you very much.    (Inaudible)
     19
             help from the grave.       Don Spurrell, are you there?
     20
                          MR. SPURRELL:    I am, Your Honor.
     21
                          THE COURT:    I appoint you to represent Ms.
     22
             Montanaro.
     23
                          MR. SPURRELL:    Yes, Sir.
     24
                          THE COURT:    And where is Ms. Montanaro,
     25
             Marshal?


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      1
                         MARSHAL:   Greene County.
      2
                         THE COURT:   Greene County, Mr. Spurrell.
      3
                         MR. SPURRELL:    Thank you.
      4
                         THE COURT:   You're welcome.     Okay.   Mr.
      5
             Brandon Miller, do you want a lawyer?
      6
                         MR. B. MILLER:    Yes, Sir.
      7
                         THE COURT:   Can you afford one?
      8
                         MR. B. MILLER:    No, Sir.
      9
                         THE COURT:   Is your financial Affidavit
     10
             correct?
     11
                         MR. B. MILLER:    Yes, Sir.
     12
                         THE COURT:   Mr. Hanor, where are you?       There
     13
             he is.   Mr. Mark Hanor is your lawyer.       And Mr.
     14
             Tullock, do you want a lawyer?
     15
                         MR. TULLOCK:    Yes, Sir.
     16
                         THE COURT:   You're a truck driver?
     17
                         MR. TULLOCK:    Yes, Sir.
     18
                         THE COURT:   Well, it looks like by, Mr.
     19
             Tullock, at the end of the month after payment of your
     20
             medical bills and loans and credit bills, you got any
     21
             money left?
     22
                         MR. TULLOCK:    At the end of the month after I
     23
             made all my payments?
     24
                         THE COURT:   Yes.
     25
                         MR. TULLOCK:    A little bit.


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      1
                          THE COURT:    What's a little bit?
      2
                          MR. TULLOCK:    (Inaudible).
      3
                          THE COURT:    I think you qualify Mr. Tullock.
      4
             You earn a pretty nice living but you also, what's your
      5
             medical bills total?      I know you say you pay about
      6
             $1,300.00 a month on them but what's your best estimate
      7
             of the total amount?
      8
                          MR. TULLOCK:    (Inaudible).
      9
                          THE COURT:    Is that all?    This says $1,300.00
     10
             a month...
     11
                          MR. TULLOCK:    (Inaudible).
     12
                          THE COURT:    Oh, you have to go every month,
     13
             month in month out?
     14
                          MR. TULLOCK:    (Inaudible).
     15
                          THE COURT:    Alright.   Well, Mr. Reach?
     16
                          MR. REACH:    Yes, Your Honor, I'm here.
     17
                          THE COURT:    Mr. Eric Reach is your lawyer Mr.
     18
             Tullock and where is Mr. Tullcok?
     19
                          MARSHALL:    Greene County.
     20
                          THE COURT:    Greene County.   Alright.   Let's
     21
             see, I should have done this as we did this and I
     22
             didn't.   I apologize, we're going to have to do it now.
     23
             Mr. Moore, would you please enter a plea on behalf of
     24
             Mr. Rogers?
     25
                          MR. MOORE:    Not guilty, Your Honor.


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      1
                          THE COURT:    Ms. Mohr, on behalf of Mr. Sharp?
      2
                          MS. MOHR:    Not guilty, Your Honor.
      3
                          THE COURT:    Ms. Waters on behalf of Mr.
      4
             Black?
      5
                          MS. WATERS:    Not guilty, Your Honor.
      6
                          THE COURT:    Mr. Fairchild on behalf of Ms.
      7
             Roberts?
      8
                          MR. FAIRCHILD:    Not guilty, Your Honor.
      9
                          THE COURT:    Mr. Rasnic on behalf of Mr.
     10
             Loveday, Sr.?
     11
                          MR. RASNIC:    Not guilty, Your Honor.
     12
                          THE COURT:    Ms. Jelovsek on behalf of Mr.
     13
             Richardson?
     14
                          MS. JELOVSEK:    Not guilty, Your Honor.
     15
                          THE COURT:    Mr. Bolton on behalf of Mr.
     16
             Langford?
     17
                          MR. BOLTON:    Not guilty, Your Honor.
     18
                          THE COURT:    Mr. Dickert on behalf of Mr.
     19
             Parker?
     20
                          MR. DICKERT:    Not guilty.
     21
                          THE COURT:    Mr. Blackwell on behalf of Mr.
     22
             Cox?
     23
                          MR. BLACKWELL:    Your Honor, not guilty.
     24
                          THE COURT:    Thank you.   Mr. Fabus on behalf
     25
             of Mr. Loveday, Jr.?


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      1
                         MR. FABUS:    Not guilty, Your Honor.
      2
                         THE COURT:    Mr. Sears on behalf of Mr.
      3
             Bridges?
      4
                         MR. SEARS:    Not guilty, Your Honor.
      5
                         THE COURT:    Mr. Martin on behalf of Mr.
      6
             Miller?
      7
                         MR. MARTIN:    Not guilty, Your Honor.
      8
                         THE COURT:    Okay.   Mr. Spurrell on behalf of
      9
             Ms. Montanaro?
     10
                         MR. SPURRELL:    Not guilty.
     11
                         THE COURT:    Thank you.   Mr. Hanor on behalf
     12
             of Mr. Miller?
     13
                         MR. HANOR:    Not guilty, Your Honor.
     14
                         THE COURT:    Mr. Reach on behalf of Mr.
     15
             Tullock?
     16
                         MR. REACH:    Not guilty, Your Honor.
     17
                         THE COURT:    Okay, lawyers, we still, as you
     18
             heard Ms. Hebets say a moment ago, there's a few people
     19
             out, some of them on (inaudible).       They won't be here
     20
             for a spell.    There is absolutely, it would be a
     21
             pointless exercise to set any dates under those
     22
             circumstances since they would be promptly undone as
     23
             each new Defendant successively appears.        So we will
     24
             not set any dates until the last one appears which I
     25
             hope is in fairly short order.       Next issue, of course,


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                                                                            35

      1
             is The Government's position regarding Pre-Trial
      2
             release or Pre-Trial detention with respect to each
      3
             Defendant.    Ms. Hebets, what's your position?
      4
                          MS. HEBETS:     Your Honor, The United States is
      5
             requesting detention for each of the Defendants present
      6
             in Court today.
      7
                          THE COURT:    Based on the presumption?
      8
                          MS. HEBETS:     Yes, Your Honor.
      9
                          THE COURT:    Ms. Hebets, in your opinion, how
     10
             many can we handle at one sitting?
     11
                          MS. HEBETS:     It depends on how long you want
     12
             to sit.
     13
                          THE COURT:    I asked for it, I got it.     Is
     14
             three or four per Hearing reasonable?
     15
                          MS. HEBETS:     That's what I was thinking, Your
     16
             Honor, three or four would be a good way to break this
     17
             up.
     18
                          THE COURT:    Okay.   Okay.   And doing three or
     19
             four how long do you think they would take?         I'm just
     20
             asking you for your best guess, that's all?
     21
                          MS. HEBETS:     An hour and a half, two hours
     22
             for three or four.
     23
                          THE COURT:    Okay.   Let's err on the liberal
     24
             side, two hours.     Okay.    Lawyers, let me look to see?
     25
             I have Monday available, Ms. Hebets, can you, I know


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      1
             what Monday does to the US Attorney's Office but I may
      2
             need somebody to help me out here.
      3
                          MS. HEBETS:    I will see if I can find
      4
             somebody.    I'm in Court with Judge Jordan almost all
      5
             day on Monday.     I will do my best to get another US
      6
             Attorney here.
      7
                          THE COURT:    Okay.
      8
                          MR. TIM MOORE:    Your Honor, on behalf of Mr.
      9
             Rogers I talked to probation, they indicated Monday
     10
             they could have the report done, so.        If we could do
     11
             it, if that's the earliest we could do it...
     12
                          THE COURT:    Well, any earlier would be right
     13
             now, I guess.
     14
                          MR. TIM MOORE:    Well, I'm not sure
     15
             probation's, if they can have the report ready this
     16
             afternoon?
     17
                          UNKNOWN:   We can have it ready this afternoon
     18
             (inaudible)...
     19
                          THE COURT:    What's your position, Ms. Hebets?
     20
                          MS. HEBETS:    I don't mind doing it this
     21
             afternoon.    I'll have to, it affects my schedule but
     22
             I'm happy to do what The Court needs me to do.
     23
                          THE COURT:    Well, I'm not trying to ram it
     24
             down anybody's throat.      I'm just trying to see what
     25
             we've got to work with.


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      1
                          MS. HEBETS:    It would be easier to do it next
      2
             week.
      3
                          MR. MOORE:    We'd rather do it this afternoon,
      4
             Your Honor.    The earlier the better and I've got a
      5
             Change of Plea with Judge Greer first thing Monday
      6
             morning.    I'm subpoenaed for a Post-Conviction over in
      7
             Cocke County for all week next week anyhow.
      8
                          THE COURT:    Well, of course I'm going to have
      9
             more than Monday available, that's just one day I've
     10
             got available.     I've got most of Tuesday available.
     11
             Well, I've got...
     12
                          MR. RASNIC:    Your Honor, this is Joe Rasnic.
     13
             Tuesday is the only day that I am available next week.
     14
             So Tuesday afternoon would work for me if that suits
     15
             The Court.
     16
                          THE COURT:    Hold on.   Keep that thought.
     17
             Alright.    Here's what I've got.     All day Monday,
     18
             Tuesday from, the window between ten o'clock and 1:30.
     19
                          UNKNOWN:   I'm available then, Your Honor.
     20
                          THE COURT:    I'm just, nobody tell me what
     21
             they got available.       I got enough trouble knowing what
     22
             I got available.     Wednesday afternoon meaning 1:30
     23
             onward, and Thursday I got the window between, well ten
     24
             o'clock through the rest of that day.        Okay?   So let's
     25
             see here?


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                                                                          38

      1
                          MR. BLACKWELL:      Your Honor, it's Guy
      2
             Blackwell.    Can I ask a couple of questions that may
      3
             help?
      4
                          THE COURT:    Yes, Sir.
      5
                          MR. BLACKWELL:      First question is since there
      6
             are Defendants apparently in custody that are not there
      7
             and one Defendant that is not in custody is not there,
      8
             will the indictments be (inaudible)?
      9
                          THE COURT:    I don't know.
     10
                          MS. HEBETS:    No, not until the...
     11
                          THE COURT:    No.
     12
                          MS. HEBETS:    ...last Defendant is arrested.
     13
                          MR. BLACKWELL:      Okay.
     14
                          THE COURT:    Apparently we got somebody that's
     15
             out that's out that's not ready.
     16
                          MR. BLACKWELL:      And the second question would
     17
             be on the Pre-Trial Services Reports, those of us that
     18
             aren't physically there obviously it's going to make a
     19
             difference to see the criminal history and some of the
     20
             background in deciding whether we need a Hearing, what
     21
             position can be made to get those Pre-Trial Reports to
     22
             us hopefully today?
     23
                          OFFICER:   May I approach the bench, Sir?
     24
                          THE COURT:    Officer Dedrick is headed toward
     25
             the microphone.


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      1
                          OFFICER DEDRICK:    No, Sir, I would like to
      2
             head to you if it's okay?
      3
                          THE COURT:    Oh, you're heading to me.
      4
                          OFFICER:   Please, Sir?
      5
                          THE COURT:    Alright.    Mr. Blackwell, Officer
      6
             Dedrick advises me to advise you that your client has
      7
             no criminal history showing on NCIC.
      8
                          MR. BLACKWELL:    Okay.    Thanks, Your Honor.
      9
                          THE COURT:    You're welcome.    Attorneys, those
     10
             of you that represent Sharp, Roberts, Cox and
     11
             Tullock...
     12
                          MS. HEBETS:    Your Honor, we're available
     13
             either Wednesday afternoon or any time Thursday.
     14
                          THE COURT:    What about today?
     15
                          UNKNOWN:   Today?   I don't think we can do
     16
             today.
     17
                          THE COURT:    Alright.    That takes off Mr.
     18
             Sharp.   What about Roberts, Cox and Phillips?        I'm just
     19
             asking, this a suggestion of Officer Dedrick.
     20
                          MR. REACH:    Your Honor, I possibly could do
     21
             it later this afternoon.      I have got to go to Claiborne
     22
             County and come back then Tuesday is the only other day
     23
             I could do it.
     24
                          THE COURT:    Well, let's see, what about
     25
             Tuesday at ten o'clock?


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                                                                          40

      1
                         MR. REACH:    That will be fine, Your Honor.
      2
                         THE COURT:    So Mr. Tullock's Detention
      3
             Hearing is Tuesday at ten o'clock.        Mr. Cox, who
      4
             represents Mr. Cox?
      5
                         MR. BLACKWELL:    Your Honor, it's Guy
      6
             Blackwell again, I do, I could do it any time on
      7
             Monday, well, actually any time afternoon on Monday.
      8
                         THE COURT:    1:30?
      9
                         MR. BLACKWELL:    Yes, Sir.    That's fine.
     10
                         MR. FAIRCHILD:    Your Honor, Jefferson
     11
             Fairchild for Ms. Roberts, Monday at 1:30 would work
     12
             with my schedule.
     13
                         THE COURT:    Alright.    Let's see, Mr. Mohr, as
     14
             far as Mr. Sharp is concerned, what did you suggest?
     15
                         MS. MOHR:    (Inaudible), Your Honor, looking
     16
             again we could do Monday at 1:30 also.
     17
                         THE COURT:    We made the offer Officer
     18
             Dedrick, that's all we can do.        Okay, Detention
     19
             Hearings for Cox, Roberts, Sharp, 1:30 on Monday.          For
     20
             Tullock, 10:00 on Tuesday.        Let's see.   What about Mr.
     21
             Black, Ms. Waters?
     22
                         MS. WATERS:    Your Honor, I'm available on
     23
             Monday morning.
     24
                         THE COURT:    Nine o'clock?
     25
                         MS. WATERS:    At nine o'clock.


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      1
                          THE COURT:    Alright.    Let's see, Mr. Moore,
      2
             what about Mr. Rogers?
      3
                          MR. MOORE:    I understand we could do it this
      4
             afternoon.
      5
                          UNKNOWN:   (inaudible).
      6
                          THE COURT:    Ms. Hebets?
      7
                          MS. HEBETS:    Your Honor, again it conflicts
      8
             with something I'm supposed to be doing this afternoon
      9
             but I will be here and do it if that's the best date
     10
             that works for that Defendant.
     11
                          THE COURT:    Okay.    Thank you.   Let's just do
     12
             it this afternoon then, one o'clock.        (Inaudible).
     13
             Alright.    Mr. Rasnic, on behalf of Mr. Loveday?
     14
                          MR. RASNIC:    Your Honor, I can do Monday
     15
             afternoon if that's still available.
     16
                          THE COURT:    It's, we just maxed it out.
     17
                          MR. RASNIC:    Well...
     18
                          THE COURT:    I don't, that's what I say,
     19
             you're the last one.       Anybody else in this room have to
     20
             have Monday afternoon?      Okay.     Monday afternoon it is
     21
             Mr. Rasnic.
     22
                          MR. RASNIC:    Thank you, Your Honor, what time
     23
             would that be?
     24
                          THE COURT:    1:30.
     25
                          MR. RASNIC:    Alright.    Thank you, Sir.


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                                                                          42

      1
                          THE COURT:    Okay.   What about Mr. Richardson,
      2
             Ms. Jelovsek?
      3
                          MS. JELOVSEK:    Your Honor, I, Tuesday any of
      4
             (inaudible) you said or Thursday morning at 10:00.
      5
                          THE COURT:    I had a little bit of difficulty
      6
             understanding you, say again?
      7
                          MS. JELOVSEK:    Tuesday any time or Thursday
      8
             morning at 10:00.
      9
                          THE COURT:    What about Tuesday at 1:30?
     10
                          MS. JELOVSEK:    That's fine.
     11
                          THE COURT:    Mr. Bolton, what about Mr.
     12
             Langford?
     13
                          MR. BOLTON:    What was my options again, Your
     14
             Honor, for Mr. Langford?
     15
                          THE COURT:    Monday morning, Tuesday morning
     16
             and Tuesday afternoon, Wednesday afternoon, Thursday
     17
             morning and afternoon.
     18
                          MR. BOLTON:    Thursday morning would be ideal,
     19
             Your Honor.
     20
                          THE COURT:    Thursday morning would be ideal.
     21
             So ten o'clock?
     22
                          MR. BOLTON:    Thank you.
     23
                          THE COURT:    That's ten o'clock on Thursday.
     24
             Mr. Dickert, what about Mr. Parker?
     25
                          MR. DICKERT:    Tuesday afternoon if that's


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                                                                             43

      1
             available?
      2
                          THE COURT:    It is.   And Jayson Cox...
      3
                          MR. DICKERT:    Is that 1:30, Your Honor?
      4
                          THE COURT:    ...is set, 1:30 on Monday.     I'm
      5
             sorry?   1:30, Yes, Sir.
      6
                          MR. DICKERT:    1:30 Tuesday, right?
      7
                          THE COURT:    1:30 on Tuesday.   Okay.   Let me
      8
             see, Mr. Loveday, Sr., is at 1:30 on Monday so now
      9
             we're talking about Mr. Loveday, Jr.
     10
                          MR. FABUS:    Tuesday at 1:30.
     11
                          THE COURT:    What did you say Mr. Fabus?
     12
                          MR. FABUS:    Tuesday at 1:30.
     13
                          THE COURT:    Thank you.   Mr. Sears, what about
     14
             Mr. Bridges?
     15
                          MR. SEARS:    Wednesday afternoon, Thursday or
     16
             Friday, Your Honor.
     17
                          THE COURT:    Friday is not even available.
     18
             What was your other choice?
     19
                          MR. SEARS:    Wednesday afternoon or Thursday,
     20
             Your Honor.
     21
                          THE COURT:    What about Wednesday afternoon?
     22
                          MR. SEARS:    ...Your Honor, 1:30?
     23
                          THE COURT:    1:30.    Mr. Martin, what about...
     24
                          MR. MARTIN:    May it be set for Thursday at 10
     25
             o'clock, Your Honor?


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      1
                          THE COURT:    That will be fine.
      2
                          MR. MARTIN:    Thank you, Your Honor.
      3
                          THE COURT:    Alright.    What about Ms.
      4
             Montanaro,    Mr. Spurrell?
      5
                          MR. SPURRELL:    As early as possible, Your
      6
             Honor.
      7
                          THE COURT:    That would be Monday morning at
      8
             nine o'clock.
      9
                          MR. SPURRELL:    If that works with your
     10
             schedule, Your Honor, it works with mine.
     11
                          THE COURT:    It does.    Brandon Miller, Mr.
     12
             Hanor?
     13
                          MR. HANOR:    Your Honor, I'm available Monday
     14
             morning.
     15
                          THE COURT:    Monday morning nine o'clock.      Mr.
     16
             Tullock is set for Tuesday morning at ten o'clock.
     17
                          UNKNOWN:   Your Honor, I didn't realize Monday
     18
             morning was open, can you bump me to Monday morning
     19
             (inaudible)?
     20
                          THE COURT:    Say it again?
     21
                          UNKNOWN:   I didn't realize Monday morning was
     22
             still open, I thought Monday had closed out.         Can you
     23
             bump, can you move me from 1:30 on Wednesday to Monday
     24
             morning?
     25
                          THE COURT:    Yes, Sir.


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                                                                             45

      1
                          UNKNOWN:   Thank you.
      2
                          THE COURT:    Alright.    Let's check all these
      3
             lawyer, all these?      Monday morning at 9:00 o'clock,
      4
             Black, Montanaro, Miller and Bridges.        Monday afternoon
      5
             at 1:30, Cox, Roberts, Sharp, Loveday, Sr.         Tuesday at
      6
             10:00, Tullock.     Tuesday at 1:30, Richardson, Parker,
      7
             Loveday, Jr.    Wednesday afternoon 1:30, nobody.
      8
             Thursday at 10:00 Langford and Miller.         That it?   Any
      9
             corrections, additions, deletions?        Alright.
     10
             (Inaudible).
     11
                          MR. MOORE:    Your Honor, may I approach?
     12
                          THE COURT:    Yes, Sir.   Ms. Hebets?
     13
                          MS. HEBETS:    Yes, Your Honor?
     14
                          THE COURT:    Okay.    Oh, my goodness.
     15
             Alright.
     16
                          UNKNOWN:   Your Honor, I have one final
     17
             question.    Does the US Attorney's Office know if this
     18
             is going to be superceded at some point (inaudible)...?
     19
                          THE COURT:    I'll let Ms. Hebets answer that
     20
             question for you privately.        I don't need to know it
     21
             right now.    The lawyers, with respect to these
     22
             Detention Hearings, if you, after consulting with your
     23
             client and reviewing the Pre-Trial Report and
     24
             recommendation of the United State Probation Office
     25
             determine that waiver of a Detention Hearing is an


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                                                                            46

      1
             appropriate thing to do, please let my office and the
      2
             Clerk's office know ASAP.      Save the Marshals, if nobody
      3
             else, a lot of trouble.
      4
                         OFFICER DEDRICK:    (Inaudible).
      5
                         THE COURT:    Officer Dedrick just told me that
      6
             if any of you would like to call the probation office
      7
             this afternoon they would be glad to discuss with you
      8
             criminal history and other salient information in that
      9
             regard.   Do it this, well, (inaudible) Casey Seals so
     10
             ACF will accomplish nothing as far as filing a waiver.
     11
             (Inaudible).    Well, I prefer a phone call.       If you do
     12
             elect to waive the Hearing call, please?        Would you all
     13
             do that for us, please?
     14


     15
             (ALL ATTORNEYS ANSWERED YES)
     16


     17
                         THE COURT:    Thank you.   I've got, (inaudible)
     18
             these (inaudible) prepare orders on.        Alright.
     19
             Lawyers, anybody, any questions?
     20
                         MR. MARTIN:    Your Honor, Charles Martin.
     21
                         THE COURT:    Yes, Sir.
     22
                         MR. MARTIN:    What is the case number, please?
     23
                         THE COURT:    11-CR-81.
     24
                         MR. MARTIN:    Thank you, Your Honor.
     25
                         THE COURT:    Anything else?


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      1
                         MR. MARTIN:    No, Sir.
      2
                         THE COURT:    Okay.   If there's nothing else
      3
             let's stand in recess until 11:30.
      4
                         CLERK:   All rise.    The Court stands in
      5
             recess.
      6


      7


      8
             THIS CONCLUDES THE INITIAL APPEARANCE & ARRAIGNMENT AS
      9
             PRESENTED IN THIS MATTER
     10


     11


     12


     13


     14


     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                                                                          48

      1
                                      CERTIFICATE
      2
                         I, C.D. Neal, Notary Public and Court
      3
             Reporter, hereby certify that the foregoing is a true
      4
             and complete transcript of the Initial Appearance &
      5
             Arraignment as heard in the aforementioned case on the
      6
             16th of September, 2011.
      7
                         WITNESS my hand and official seal at office
      8
             at Gray, Tennessee, this the 6th of February, 2013.
      9


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             My Commission Expires:      October 24, 2016
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                          Barringer Court Reporting
                       P.O. Box 8035, Gray, TN - 423-477-7844

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